Case 2:19-cv-10635-ILRL-JVM Document 97-7 Filed 10/09/20 Page 1of1

04/05/2019

Byron L. Taylor 0.00

** *NON-NEGOTIABLE***
**This is not a check. “Advice of deposit only****

Byron L. Taylor
4320 Jeanne Marie Place
New Orleans LA 70122

Pay Period: 03/16/2019 - 03/22/2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Byron L. Taylor PAY Hours __ Rate Current YTD TAXES Current YTD
4320 Jeanne Marie Place Commission - - 1,054.00 3,468.00 Federal Income Tax 0.00 0.00
New Orieans LA Income Tax 0.00 0.00
LA, 70122
HD and Associates DEDUCTIONS _ __Current __ _YTD
1107 Wright Avenue
TERRYTOWN
LA, 70058 OTHER PAY Current YTD
Pay Period SUMMARY Current YTD
03/16/2019 - 03/22/2019 BENEFITS Used ___ Available Total Pay $1,054.00 $3,468.00
Pay Date Taxes $0.00 $0.00
04/05/2019 Deductions $0.00 $0.00
NET PAY: $1,054.00
MEMO: Acct#....5815: $1,054.00
Byron L. Taylor PAY Hours __ Rate Current YTD TAXES Current YTD
4320 Jeanne Marie Place Commission - - 1,054.00 3,488.00 Federal Income Tax 0.00 0.00
New Orleans LA Income Tax 0.00 0.00
LA, 70122
HD and Associates DEDUCTIONS Current YTD
1107 Wright Avenue
TERRYTOWN
LA. 70056 OTHER PAY Current YTD
Pay Period SUMMARY Current YTp|
03/16/2019 - 03/22/2019 BENEFITS Used _ Available Total Pay $1,054.00 $3,468,
Pay Date Taxes $0.00 $0,
y
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04/05/2019 Ded! $0.00 $0.0
NET PAY: $1,054.00
MEMO: Acct#....5815: $1,054.00

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